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   1   RIMON, P.C.                            JEONG & LIKENS, L.C.
       Mark Lee (SBN 94103)                   Chan Yong Jeong, Esq. (SBN: 255244)
   2
       mark.lee@rimonlaw.com                  jeong@jeonglikens.com
   3   2029 Century Park East, Suite 400N     222 South Oxford Avenue
       Los Angeles, California 90067          Los Angeles, California 90004
   4
       Telephone/Facsimile: 213.375.3811      Telephone: 213.688.2001
   5
       RIMON, P.C.
   6
       Zheng Liu (SBN: 229311)
   7   zheng.liu@rimonlaw.com
       800 Oak Grove Avenue, Suite 250
   8
       Menlo Park, California 94025
   9   Telephone/Facsimile: 650.461.4433
  10
       Attorneys for Defendants
  11   INTERFOCUS INC. d.b.a.
  12   www.patpat.com

  13
                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
  16
     NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
  17 INC., a California Corporation,
  18                                          JOINT APPLICATION TO
                  Plaintiff,                  DISMISS DEFENDANT CAN
  19                                          WANG WITHOUT PREJUDICE
  20        v.
                                              The Hon. Christina A. Snyder
  21 INTERFOCUS, INC. d.b.a.
  22 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  23 individual, and DOES 1-10, inclusive.,
  24
                  Defendants.
  25
  26
     INTERFOCUS, INC. d.b.a.
  27
     www.patpat.com, a Delaware
  28 Corporation; CAN WANG, an

         JOINT APPLICATION TO DISMISS DEFENDANT CAN WANG WITHOUT PREJUDICE
Case 2:20-cv-11181-CAS-JPR Document 91 Filed 08/18/22 Page 2 of 3 Page ID #:1701




   1 individual, and DOES 1-10, inclusive,
   2
                    Counterclaim Plaintiffs,
   3
             v.
   4
   5 NEMAN BROTHERS & ASSOC.,
   6 INC., a California Corporation,
   7                Counterclaim Defendant.
   8
   9
  10 TO THIS HONORABLE COURT, AND ALL PARTIES HEREIN:
  11         Plaintiff and Counter-Defendant Neman Brothers, Inc. (“Neman Brothers”)
  12 and Defendant and Counterclaimant InterFocus, Inc., though their respective
  13 counsel, stipulate and agree that Defendant Can Wang may be dismissed from this
  14 action without prejudice. Between Neman Brothers and Can Wang, each party shall
  15 bear, if any, its or his fees and costs incurred in this case including attorney fees,
  16 which is without prejudice to potential award of fees and costs between Neman
  17 Brothers and Interfocus, Inc.
  18         This joint request is made to promote judicial efficiency and is not interposed
  19 for purposes of delay.
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         JOINT APPLICATION TO DISMISS DEFENDANT CAN WANG WITHOUT PREJUDICE
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   1                                       RIMON, P.C.
   2 Dated: August 18, 2022
   3                                   By: /s/ Mark S. Lee
   4                                       Mark S. Lee
                                           Zheng Liu
   5
                                           Attorneys for Defendants and
   6                                       Counterclaim Plaintiffs
   7                                       INTERFOCUS, INC. d.b.a.
                                           www.patpat.com
   8                                       RIMON, P.C.
   9 Dated: August 18, 2022
  10
                                       By: /s/ Chan Yong Jeong
  11                                       Chan Yong Jeong
  12                                       Attorneys for Plaintiffs
                                           NEMAN BROTHERS & ASSOC., INC.
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         JOINT APPLICATION TO DISMISS DEFENDANT CAN WANG WITHOUT PREJUDICE
